                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION
 UNITED STATES OF AMERICA,        )
                                  )
                     Plaintiff,   )
                                  )
                v.                )  Case No. 5:21-06087-CV-RK
                                  )
 UNITED STATES CURRENCY, $17,880; )
                                  )
                     Defendant.   )
            ORDER OF DEFAULT JUDGMENT OF FORFEITURE
       The Plaintiff, United States of America, has moved this Court, pursuant to Rule 55(b)(2)
of the Federal Rules of Civil Procedure, for entry of a final judgment by default. Plaintiff has
shown that there was reasonable cause for seizure of the defendant property, that a complaint for
forfeiture was filed, that all known potential claimants were served with process, and that any and
all other claimants have been served by publication. All potential claimants in this case have failed
to make a claim or otherwise defend as provided by the Federal Rules.
       Therefore, it is hereby ORDERED, ADJUDGED, AND DECREED:
       (1) that a default judgment of forfeiture is hereby entered against the defendant property,
            $17,880 in United States Currency;
       (2) that all persons claiming any right, title, or interest in or to the defendant property are
            held in default;
       (3) that all claims and interests in the defendant property are forever foreclosed and barred;
       (4) that the defendant property is hereby forfeited to the United States of America pursuant
            to 21 U.S.C. § 881(a)(6));
       (5) that the defendant property shall be disposed of according to law; and
       (6) that the Clerk of the Court shall enter a judgment consistent with this order.
       IT IS SO ORDERED.

                                              /s/ Roseann A. Ketchmark
                                              ROSEANN A. KETCHMARK, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: December 15, 2021




          Case 5:21-cv-06087-RK Document 10 Filed 12/15/21 Page 1 of 1
